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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

February 2007 Grand Jury

ck No. Q7.00522

INDICTMENT

UNITED STATES OF AMERICA,
Plaintiff,

Vv.
[18 U.S.C. § 371: Conspiracy;

31 U.S.C. § 5332:

Bulk Cash Smuggling; 31 U.S.C.
§ 5316(a),(b): Failure to
Report Exporting Monetary
Instruments; 18 U.S.C.

§ 1001(a) (2): False Statement]

HASSAN SALEH SALEH, and
ALI KHALIL ELREDA,

Defendants.

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The Grand Jury charges:
COUNT ONE
[18 U.S.C. § 371]
A. OBJECT OF THE CONSPIRACY
Beginning on a date unknown and continuing until on or about
September 7, 2006, in Los Angeles County, within the Central
District of California, and elsewhere, defendants HASSAN SALEH

SALEH, ALI KHALIL ELREDA, and others known and unknown to the

 

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Grand Jury, conspired and agreed with each other to knowingly
conceal more than $10,000 in currency or other monetary
instruments with the intent to evade a currency reporting
requirement and for the purpose of transporting such currency or
monetary instruments outside the United States, in violation of
Title 31, United States Code, Sections 5332 and 5316(a),(b).

B. MEANS BY WHICH THE OBJECT OF THE CONSPIRACY
WAS TO BE ACCOMPLISHED

The object of the conspiracy was to be accomplished, in
substance, as follows:

1. Defendant HASSAN SALEH SALEH would arrange for more
than $100,000 in Western Union money orders and more than $10,000
in Bank of America cashier's checks to be concealed in a child’s
toy.

2. Defendant HASSAN SALEH SALEH would provide that toy,
with the money orders and cashier’s checks hidden inside, to
defendant ALI KHALIL ELREDA. |

3. Defendant ALI KHALIL ELREDA would arrange to travel
from Los Angeles International Airport (“LAX”) to Damascus,
Syria, on an Air France flight via Paris.

4. Defendant ALI KHALIL ELREDA would carry the toy, with

the money orders hidden inside, in his checked luggage on an Air

France jet leaving LAX and destined for Paris.

5. Defendant ALI KHALIL ELREDA, prior to boarding the
flight for Paris, would falsely complete a Department of Treasury
Form (specifically FinCEN Form 105, also known as Customs Form
4790) Report of International Transportation of Currency or
Monetary Instruments under penalty of perjury declaring that he

carried only $12,140 in cash and no other monetary instruments in

 
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an effort to take the money orders and the cashier's checks to
France, Syria, and eventually on to Lebanon, without reporting
his possession of these items.

6. Defendant HASSAN SALEH SALEH would pay defendant ALI
KHALIL ELREDA for transporting the money orders and cashier’s
checks on behalf of defendant HASSAN SALEH SALEH.
on OVERT ACTS

In furtherance of the conspiracy and to accomplish the
object of the conspiracy, defendants and their co-conspirators
committed the following overt acts, among others, within the
Central District of California:

1. On or about August 14, 2006, defendant HASSAN SALEH
SALEH told defendant ALI KHALIL ELREDA that he would pay
defendant ELREDA to carry money orders and cashier's checks out
of the United States to Lebanon.

2. On or about September 4, 2006, defendant HASSAN
SALEH SALEH told defendant ALI KHALIL ELREDA that he would hide
money orders and cashier's checks in a child's toy for defendant
ELREDA to take on an airline flight outside the United States.

3. On or about September 4, 2006, defendant ALI KHALIL
ELREDA told defendant HASSAN SALEH SALEH that he would put the
money orders and cashier's checks given to him by defendant
HASSAN SALEH SALEH in luggage defendant ALI KHALIL ELREDA would
take on the flight.

4, On or about September 7, 2006, defendant ALI KHALIL
ELREDA went to Los Angeles International Airport to board a plane
from Los Angeles to Damascus, Syria, via Paris, France.

5. On or about September 7, 2006, ALI KHALIL ELREDA

 
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checked baggage at the Air France terminal for a flight to Paris,
France, which contained money orders and cashier's checks
concealed in a child's toy.

6. On or about September 7, 2006, defendant ALI KHALIL
ELREDA completed FinCEN Form 105, also known as Customs Form 4790
(Report of International Transportation of Currency or Monetary
Instruments) as he prepared to depart LAX on a flight to Paris,
France, and claimed that he carried only $12,140 in cash and no
other monetary instruments.

7. On or about September 7, 2006, defendant ALI KHALIL
ELREDA carried boarding passes to fly on Air France from Beirut,
Lebanon to Paris, France, and Paris, France to LAX on September

27, 2006.

 
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COUNT TWO
[31 U.S.C. § 5332 (a) (1)]

On or about September 7, 2006, in Los Angeles County, within
the Central District of California, and elsewhere, defendants
HASSAN SALEH SALEH and ALI KHALIL ELREDA knowingly concealed,
with the intent to evade a currency reporting requirement under
Title 31, United States Code, Section 5316, specifically FinCEN
Form 105, also known as Customs Form 4790 (Report of
International Transportation of Currency or Monetary Instruments)
more than $10,000 in United States currency or other monetary
instruments, that is, approximately $110,600 in Western Union
money orders and $10,900 in Bank of America cashier's checks, in
luggage, merchandise and other containers belonging to defendant
ALI KHALIL ELREDA, and attempted to transport this currency from
a place in the United States ‘to a place outside the United

States, namely, France, Syria, and Lebanon.

 
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COUNT THREE
[31 U.S.C. § 5316(a), (b)]

On or about September 7, 2006, in Los Angeles County, within
the Central District of California, and elsewhere, defendant ALI
KHALIL ELREDA knowingly and willfully failed to file an accurate
report as required by and described in Title 31, United States
Code, Section 5316(b), specifically FinCEN Form 105, also known
as Customs Form 4790 (Report of International Transportation of
Currency or Monetary Instruments), in that ALI KHALIL ELREDA
falsely claimed that he was transporting currency and monetary
instruments with a total value of $12,140, when in fact he was
knowingly transporting, and about to transport, monetary
instruments of more than $12,140 at one time, that is,
approximately $110,600 in Western Union money orders and $10,900
in Bank of America cashier's checks, from a place in the United
States to a place outside the United States, namely France,

Syria, and Lebanon.

 
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COUNT FOUR
[18 U.S.C. § 1001 (a) (2) ]

On or about September 7, 2006, in Los Angeles County, within
the Central District of California, and elsewhere, defendant ALI
KHALIL ELREDA knowingly and willfully made a materially false,
fictitious and fraudulent statement and representation in a
matter within the jurisdiction of the United States Department of
Homeland Security, Customs and Border Protection, a department in
the executive branch of the United States government, in that
defendant ELREDA stated and represented to agents of that
department that he was transporting currency and monetary
instruments with a total value of $12,140, when, as defendant
well knew, he was transporting, and about to transport, more than
$120,000 in United States currency and monetary instruments, that
is, approximately $110,600 in Western Union money orders and

$10,900 in Bank of America cashier's checks.

A TRUE BILL

Is]

Foreperson |

GEORGE S. CARDONA
Acting Unjted States Attorney

THOMAS P. O'BRIEN
Assistant United States Attorney
Chief, Criminal Division

PATRICK R. FITZGERALD

CAROLE C. PETERSON

Assistant United States Attorneys
National Security Section

 
